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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CABLE NEWS NETWORK, INC.,

                Plaintiff,

                                                  Case No. 1:17-cv-01167-JEB
 v.



 FEDERAL BUREAU OF INVESTIGATION,

                Defendant.


                                  JOINT STATUS REPORT

       Pursuant to the Court’s August 31, 2018 Minute Order, Plaintiff Cable News Network,

Inc. (“CNN”) and Defendant Federal Bureau of Investigation (“FBI”) hereby submit this joint

status report and proposed briefing schedule.

                                       BACKGROUND

       This litigation arises out of CNN’s request to the FBI, under the Freedom of Information

Act (“FOIA”), for copies of records contemporaneously documenting conversations between

FBI Director James Comey and President Donald Trump (the “Comey Memos”). On February

2, 2018, this Court granted the FBI’s motion for partial summary judgment and denied CNN’s

cross-motion, permitting the FBI to withhold the memos in full under Exemption 7(A). Mem.

Op., Feb. 2, 2018, ECF No. 49. The Court therefore did not reach the FBI’s argument that

portions of the memos also could be withheld under Exemptions 1, 3, 6, 7(C), and 7(E). Id. at 9.

       Prior to making its decision, the Court reviewed the Comey Memos themselves in

camera, considered two sealed affidavits from FBI Deputy Assistant Director David W. Archey,
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who “supervise[d] all FBI personnel assigned to the investigation into Russia’s interference with

the 2016 presidential election,” and held a “sealed, on-the-record ex parte” proffer session with

Counsel to the Special Counsel Michael R. Dreeben. Id. at 5, 10-11, 12, 14. The Court

acknowledged that “[a]lthough none of this material is currently available to [CNN], all forms

part of the record that could be reviewed on appeal or in any subsequent litigation.” Id. at 5.

         CNN timely appealed that decision. Notice of Appeal, Feb. 5, 2018, ECF No. 52. On

April 19, 2018, while the appeal was pending, the Department of Justice transmitted to Congress

an “unclassified” version of the memos, which were “redacted to remove any classified

information.” Ltr. from Asst. Atty. Gen. Boyd to Reps. Goodlatte, Gowdy, and Nunes, Apr. 19,

2018.1 That evening, multiple media organizations obtained and published copies of these

redacted, unclassified memos. E.g., “Read: James Comey’s Memos,” CNN, Apr. 19, 2018.2

         On April 24, 2018, the D.C. Circuit sua sponte ordered CNN to show cause why its

appeal had not been rendered moot by “the recent public disclosure of records at issue.” Order,

Apr. 24, 2018, Doc. No. 1727918. Two weeks later, on May 4, 2018, the FBI released its own

redacted copies of the memos. FBI Records: The Vault, “Director Comey Memoranda of

Communications with President Trump Part 01 of 02.”3 Like the copies that were transmitted to

Congress, the memos released by the FBI documented seven conversations between Comey and

President Trump, which took place on January 6, 2017, January 27, 2017, February 8, 2017,




1
 Available at https://assets.documentcloud.org/documents/4442858/2018-4-19-Comey-Memo-
Goodlatte-Gowdy-Nunes.pdf.
2
    Available at https://www.cnn.com/2018/04/19/politics/comey-memo-release/index.html.
3
 Available at https://vault.fbi.gov/director-comey-memoranda-of-communications-with-
president-trump/director-comey-memoranda-of-communications-with-president-trump-part-01-
of-01.pdf/view.
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February 14, 2017, March 1, 2017, March 30, 2017, and April 11, 2017. Id. The same passages

of the memos appear to be redacted in both versions, but the copies released by the FBI identify

one or more FOIA exemptions for each of those redactions. Id. The FBI redacted material from

four of the seven released memos, in support of which the agency cites Exemptions 1, 3, 7(A),

7(D), and/or 7(E). Id.

       In response to the D.C. Circuit’s order to show cause, CNN asked that the case be

remanded for further proceedings. CNN’s Resp., May 17, 2018, Doc. No. 1731461. On August

8, 2018, the D.C. Circuit granted CNN’s request for remand. Mandate & Order, Aug. 8, 2018,

Doc. No. 1744635. The appeals court stated that “[f]urther proceedings in the district court are

. . . necessary to determine whether there exist any additional memoranda that have not been

publically disclosed, and whether [CNN] is entitled to the disclosure of any unreleased

memoranda or redacted portions of released memoranda.” Id. at 2. It also held that “[f]urther

proceedings on the continuing applicability of Exemption 7(A) to the remaining withheld

information are necessary in light of subsequent statements by government officials that release

of the memoranda would no longer adversely impact any ongoing investigation.” Id.

                                    REMAINING ISSUES

Plaintiffs’ Position

       In response to the D.C. Circuit’s order to show cause, CNN articulated two reasons why

the release of the redacted memos had not mooted this litigation. CNN’s Resp., May 17, 2018,

Doc. No. 1731461. First, CNN observed that the question remains whether all of the memos had

been made public. The record in this case indicates that Comey may have written as many as

nine memos: As this Court wrote, “According to Comey, [c]reating written records immediately

after one-on-one conversations with Mr. Trump was [his] practice” following his initial meeting



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with then President-elect Trump in January 2018, and Comey “thought he had done so after each

of [his] nine conversations with the President, or at least for nearly all of them, especially the

ones that were substantive.” Mem. Op. at 3, ECF No. 49. The FBI released only seven memos,

however, and it would not disclose either their total “number” or their “volume.” Mem. in Supp.

of FBI’s Mot. for Partial Summ. J. at 11-12, Oct. 13, 2017, ECF No. 22-1. Second, CNN noted

that the redactions to the memos as released by the FBI have not been tested, and so a court

could order the FBI to remove redactions and reproduce copies of the memos if some or all of

the redacted information may not be withheld under FOIA. CNN believes that both of these

issues remain to be resolved. In addition, in its remand order, the D.C. Circuit framed the issues

remaining in this case as follows:

       1.       Whether there exist any additional memoranda that have not been publicly
                disclosed; and

       2.       Whether CNN is entitled to the disclosure of any unreleased memoranda or
                redacted portions of released memoranda.

       Pursuant to the common law and constitutional rights of access to judicial records and

proceedings, CNN also intends to move this Court to release the two sealed ex parte declarations

submitted in support of the FBI’s October 13, 2017 motion for partial summary judgment, as

well as the record of the “sealed, on-the-record ex parte” proffer session with a representative

from the Special Counsel’s office (together, the “Sealed Records”).

The FBI’s Position

       The FBI is prepared to brief the issues identified by CNN.

                             PROPOSED BRIEFING SCHEDULE

       The parties propose the following briefing schedule:

            FBI’s renewed motion for summary judgment and Vaughn index concerning the
             Comey Memos due November 9, 2018;

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    CNN’s renewed cross-motion for summary judgment, opposition to FBI’s renewed
     motion, and motion for access to the Sealed Records due November 30, 2018;

    FBI’s oppositions to CNN’s renewed cross-motion and access motion and reply in
     support of its renewed motion due January 4, 2019; and

    CNN’s replies in support of its renewed cross-motion and access motion due January
     25, 2019.




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Dated: September 13, 2018   Respectfully submitted,

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